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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                          )
                                                   )            8:02CR49
                     Plaintiff,                    )
                                                   )
       vs.                                         )              ORDER
                                                   )
LOUIS A. CRITCHLOW,                                )
                                                   )
                     Defendant.                    )


       This matter is before the court on the motion for an extension of time by defendant
Louis A. Critchlow (Critchlow) (Filing No. 36). Critchlow seeks an additional time until June
9, 2008, in which to file pretrial motions in accordance with the progression order (Filing No.
26). Critchlow has filed an affidavit wherein he consents to the motion and acknowledges
he understands the additional time may be excludable time for the purposes of the Speedy
Trial Act (Filing No. 35). Upon consideration, the motion will be granted.


       IT IS ORDERED:
       Defendant Critchlow's motion for an extension of time (Filing No. 36) is granted.
Critchlow is given until on or before June 9, 2008, in which to file pretrial motions pursuant
to the progression order. The ends of justice have been served by granting such motion
and outweigh the interests of the public and the defendant in a speedy trial. The additional
time arising as a result of the granting of the motion, i.e., the time between April 21, 2008
and June 9, 2008, shall be deemed excludable time in any computation of time under the
requirement of the Speedy Trial Act for the reason defendant's counsel requires additional
time to adequately prepare the case, taking into consideration due diligence of counsel, and
the novelty and complexity of this case. The failure to grant additional time might result in
a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).
       DATED this 21st day of April, 2008.
                                                   BY THE COURT:
                                                   s/Thomas D. Thalken
                                                   United States Magistrate Judge
